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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA, ex.                     *
 rel. KRAH PLUNKERT, et al.
                                                   *
         Plaintiffs,                                       FILED UNDER SEAL
                                                   *
                 v.                                        Civ. No. SAG-19-3375
                                                   *
 MARYLAND BROADBAND
 COOPERATIVE, et al.,                              *

         Defendants.                               *

                                                   *


                         UNITED STATES OF AMERICA’S
                 NOTICE OF ELECTION TO DECLINE INTERVENTION

        Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), the United States of America

notifies the Court of its decision not to intervene in this action.

        Although the United States of America declines to intervene, we respectfully refer the

Court to 31 U.S.C. § 3730(c)(3), which allows the relator to maintain the action in the name of the

United States of America; providing, however, that the “action may be dismissed only if the Court

and the Attorney General give written consent to the dismissal and their reasons for consenting.”

31 U.S.C. § 3730(b)(1). Therefore, the United States of America requests that, should either the

relator or the defendants propose that this action be dismissed, settled, or otherwise discontinued,

the Court solicit the written consent of the United States of America before ruling or granting its

approval.

        Furthermore, pursuant to 31 U.S.C. § 3730(c)(3), the United States of America requests

that all pleadings filed in this action shall be served upon the United States of America; the United
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States of America also requests that orders issued by the Court be sent to the Government’s

counsel. The United States of America reserves the right to order any deposition transcripts, to

intervene in this action, for good cause, at a later date, and to seek dismissal of the relator’s action

or claim. The United States of America also requests that it be served with notices of appeal.

       Finally, the United States of America requests that the relator’s Complaint, this Notice, and

the attached proposed Order be unsealed. The United States of America requests that all other

papers on file in this action remain under seal because in discussing the context and extent of the

United States of America’s investigation, such papers are provided by law to the Court alone for

the sole purpose of evaluating whether the seal and time for making an election to intervene should

be extended.

       A proposed order accompanies this Notice.

                                                       Respectfully submitted,

                                                       Erek L. Barron
                                                       United States Attorney

                                                   By: /s/ Kelly M. Marzullo
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on March 24, 2023, a copy of the foregoing United States of

America’s Notice of Election to Decline Intervention and proposed order concerning same was

served, via email and/or U.S. mail, first class, postage prepaid, on:

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                                                      /s/ Kelly M. Marzullo
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                                                      Assistant United States Attorney




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